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                                                                                   2022 Nov-15 AM 09:47
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA




                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                       NORTHEASTERN DIVISION

 NATIONAL SMALL BUSINESS                        )
 UNITED d/b/a/ the NATIONAL SMALL               )
 BUSINESS ASSOCIATION and
                                                )
 ISAAC WINKLES,                                      Case No.
                           Plaintiffs,          )

      vs.                                       )

 JANET YELLEN, in her official capacity         )
 as the Secretary of the United States          )
 Department of the Treasury,
                                                )    COMPLAINT
 UNITED STATES DEPARTMENT OF
 THE TREASURY, and                              )

 HIMAMAULI DAS, in his official                 )
 capacity as Acting Director of the             )
 Financial Crimes Enforcement Network,
                                                )
                           Defendants.
                                                )
                                                )

      Plaintiffs National Small Business United, d/b/a/ the National Small Business

Association (“NSBA”), and Isaac Winkles, major shareholder of an NSBA member

(“Winkles”), bring this civil action for declaratory and injunctive relief against Janet

Yellen, in her official capacity as the Secretary of the United States Department of

the Treasury (“Yellen”), the United States Department of the Treasury (the

“Treasury”), and Himamauli Das, in his official capacity as Acting Director of the
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Financial Crimes Enforcement Network (“Das”), and allege as follows:


                         PRELIMINARY STATEMENT
      1.       Justice Louis Brandeis once warned—in a dissenting opinion that

would later become law—that the “greatest dangers to liberty lurk in the insidious

encroachment by men of zeal, well-meaning but without understanding.” Olmstead

v. United States, 277 U.S. 438, 471, 479 (1928) (Brandeis, J., dissenting) (objecting

against warrantless wiretap of bootleggers’ private phone calls by federal agents).

The Corporate Transparency Act, Pub. L. No. 116-283, 134 Stat. 4604, codified at

31 U.S.C. § 5336 (the “CTA” or the “Act”)—a federal statute enacted on January 1,

2021, mandating that persons forming entities under State law report “sensitive

information,” id. § 5336 note (6), to the federal Financial Crimes Enforcement

Network (“FinCEN”), or face monetary penalties, imprisonment, or both—is just

such an “insidious encroachment.”

      2.       The CTA’s reporting requirements will apply to approximately 32.6

million “reporting companies” in 2024 and to an estimated 5 million additional

companies per year thereafter, including the vast majority of NSBA’s members,

located on every main street in America and in every corner of every State in the

Union.      See Beneficial Ownership Information Reporting Requirements for

Financial Crimes Enforcement Network (FinCEN), 87 Fed. Reg. 59498, 59549

(Sept. 30, 2022) (to be codified at 31 C.F.R. pt. 1010). These “reporting companies”


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include mom-and-pop businesses, franchisees, manufacturers, on-line retailers,

plumbers, restaurateurs, electricians, mechanics, lawyers, architects, dentists,

doctors, fitness studios, landscapers, and any other privately owned enterprise or

business with 20 or fewer full-time employees or less than $5 million in annual gross

receipts or sales. See 31 U.S.C. § 5336(a)(11)(B)(xxi). But the CTA goes further.

It also covers entities that are not engaged in any commercial activity at all, including

(i) not-for-profit entities that do not have a federal 501(c) tax-exempt designation,

(ii) entities formed by U.S. persons solely to hold private property in the State (e.g.,

a family residence), and (iii) local, private social clubs that have formed entities with

no intent to apply for federal 501(c) tax-exempt status.

        3.        The primary stated purpose of the CTA is to enhance measures to

combat financial crimes, such as money laundering and terrorism financing. Those

are admirable and important aims. However, while attempting to fight crime, the

CTA imposes its heaviest burdens on law-abiding U.S. citizens and permanent

residents. The CTA’s obligations to report sensitive personal information are

imposed on a “reporting company” even though:

                 (i)    the federal government does not know in what activities the
                        reporting company1 is engaged or will engage;


1
  Although we use the term “reporting company,” which is used in the statute, the word “company” implies
that the only entities affected by the CTA are those that engage in commerce when, in fact, State laws
explicitly authorize entity formation for lawful, non-commercial purposes. Accordingly, Plaintiffs do not
concede that “reporting company,” as vaguely defined in the CTA, is limited to companies that engage in
commerce.


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               (ii)    the federal government does not know whether the activities
                       engaged in, or to be engaged in, by the reporting company
                       constitute “commerce with foreign Nations, and among the
                       several States, and with the Indian Tribes” such that they are
                       subject to Congress’s authority under Article I of the United
                       States Constitution;

               (iii)   the federal government does not know or suspect that the
                       reporting company is engaging in, or will engage in, any illegal
                       activity or any activity that is subject to federal regulation; and

               (iv)    the federal government has no suspicion of wrongdoing,
                       probable cause, or any other basis justifying the imposition of
                       an obligation to divulge sensitive personal information to
                       FinCEN for law enforcement purposes.

      4.        Thus, the CTA is a law enforcement dragnet of sweeping proportions

imposed by Congress on law-abiding U.S. citizens and permanent residents who

own or control small businesses in the United States (as well as upon non-business

entities), where neither Congress nor any other branch of the federal government has

established any legal or regulatory predicate to justify this demand for personal

information. The statute compels self-identification of private individuals seeking

to engage in—or to continue engaging in—lawful, federally unregulated commercial

and non-commercial activity under State laws allowing them to form an entity,

whether or not such activity affects interstate, foreign, or Indian commerce.

      5.        Compounding the error of this jurisdictional overreach, the CTA will

likely weaken—rather than strengthen—the existing federal framework for

collecting beneficial ownership information from economic actors in the U.S.

financial system. The CTA will supplant the existing beneficial ownership reporting

                                              4
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requirements under the Customer Due Diligence Requirements for Financial

Institutions (the “CDD Rule”), which requires financial institutions to obtain

beneficial ownership information from persons or entities that voluntarily avail

themselves of the U.S. financial system by opening a financial account with a

federally regulated financial institution. Under the CDD Rule, financial institution

customers provide detailed and verifiable documentation demonstrating beneficial

ownership information, subject to vetting and reporting of suspicious activity by the

relevant financial institution. The CTA, on the other hand, requires no verifiable

documentation, no review of the information submitted, and no monitoring or

reporting to FinCEN by a disinterested third party. Making matters worse, the CTA

will likely reduce the role of financial institutions—the very actors most likely to be

used for improper financial activity and most equipped to detect and prevent such

activity—in combatting financial crimes. Money laundering and terrorism funding

are important U.S. national security problems, but the logical cure is to establish

laws that follow the money, not to build a Big-Brother database of predominantly

U.S. citizens and permanent residents who are simply engaging in lawful activities.

The Framers of the Constitution “conferred, as against the government, the right to

be let alone – the most comprehensive of rights and the right most valued by civilized

men.” Olmstead, 277 U.S. at 478 (Brandeis, J., dissenting). The CTA turns this

bedrock principle of American freedom from governmental intrusion on its head.



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      6.       The Act also claims to “set a clear, Federal standard for incorporation

practices” for “entities formed under the laws of the States,” 31 U.S.C. § 5336 note

(5)(A), and prohibits any State from authorizing any “corporation, limited liability

company, or other similar entity” formed under its laws from issuing “a certificate

in bearer form evidencing either a whole or fractional interest in the entity,” id. §

5336(f). These are unprecedented federal intrusions into the States’ sovereign

powers to charter and regulate the formation of entities under State law. For more

than two centuries, the States have had independent, plenary authority to regulate

the formation and internal structuring of corporate entities under State law, subject

only to the constraint set forth in Article I, Section 10 of the U.S. Constitution that

“no State shall make any Law impairing the Obligation of Contracts,” which the

Supreme Court has held to encompass corporate charters vested by the British

Crown before the United States was established. See Trustees of Dartmouth College

v. Woodward, 17 U.S. (4 Wheat.) 518 (1819). The federal government does not have

the constitutional authority to impose additional requirements on the formation of

entities under State laws nor to prescribe the conditions under which an entity charter

may be granted under State laws. This includes banning one or more indicia of

ownership such as bearer shares, notwithstanding the power Congress possesses to

regulate entities after formation if the entities, once formed, engage in foreign,

interstate, or Indian commerce.



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        7.        The Constitution does not grant unlimited authority to Congress.

Rather, the Constitution limits Congress’s authority to the specific powers

enumerated in Article I and the Civil War Amendments and reserves to the States

and to the People “powers not delegated to the United States by the Constitution.”

U.S. Const. amend. X. Consequently, the Constitution’s enumeration of specific

rights “shall not be construed to deny or disparage others retained by the people.”

U.S. Const. amend. IX. The CTA violates these constitutional principles:

                 (i)     The CTA infringes on the States’ sovereign powers over the
                         formation and governance of entities under State law.

                 (ii)    The CTA does not regulate commerce. Rather, it imposes
                         obligations on the States and State entity filers at the moment of
                         entity formation, which is an entirely ministerial act, not a
                         “commercial activity” over which Congress can assert its power
                         to “regulate Commerce.” U.S. Const. art. I, § 8, cl. 3. In fact,
                         many States permit entities to be formed for purposes other than
                         commerce or business. See, e.g., Ala. Code § 10A-1-2.01 (“A
                         domestic entity may have any lawful purpose or purposes, unless
                         otherwise provided by this title.”) (emphasis added).2

                 (iii)   The CTA’s application to all entities formed under State law
                         sweeps in entities engaged solely in activities confined to the
                         territory of the State in which they are formed and entities that
                         do not engage in any commercial activity at all. The CTA’s
                         indiscriminate regulation of entity formations therefore exceeds
                         Congress’s power to regulate interstate, foreign, and Indian
                         commerce.


2
 See also Ala. Code § 10A-1-2.11 (“[a] domestic entity has the same powers as an individual to take action
necessary or convenient to carry out its business and affairs”) (emphasis added). Delaware law is more
explicit in making a distinction between business and other purposes. See Del. G. Corp. L. § 101 (b) (“[a]
corporation may be incorporated or organized under this chapter to conduct or promote any lawful business
or purposes”) (emphasis added).


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               (iv)   The CTA infringes upon individuals’ rights to apply for, form,
                      own, and provide for the self-governance of entities under State
                      law. By compelling individuals who apply for, form, own, or
                      control entities formed under State law to identify themselves to
                      the federal government where the federal government has no
                      basis for regulatory power, the CTA violates these individuals’
                      constitutional rights to free speech and free association.

               (v)    By compelling the disclosure of “sensitive” personal information
                      for law enforcement purposes under penalty of criminal
                      sanctions for non-compliance, and, in certain cases, allowing
                      federal and foreign government agencies to access such sensitive
                      information regarding U.S. persons without U.S. court
                      authorization, the CTA enables “unreasonable searches and
                      seizures” of the “right of the people to be secure in their persons,
                      houses, papers, and effects” with no prior suspicion of
                      wrongdoing, in violation of the Fourth Amendment. See U.S.
                      Const. amend. IV. These aspects of the CTA also violate the
                      privilege against self-incrimination and privacy rights protected
                      by the Fifth and Ninth Amendments. See U.S. Const. amends. V
                      & IX.

               (vi)   The CTA is unconstitutionally vague because its definitions of
                      “applicant” and “beneficial owner” have no evident analogues in
                      relevant State entity laws, provide insufficient notice of who is
                      subject to its criminal sanctions for noncompliance, and vest too
                      much interpretive discretion in the federal government.

      8.       Therefore, Plaintiffs seek declaratory and injunctive relief against the

CTA’s implementation to avoid an unconstitutional intrusion by the federal

government into the rights of U.S. persons seeking to form corporate entities under

State law and to protect the sovereignty of the States. The Act directs the Secretary

of the Treasury to promulgate regulations to implement the statute. On September

29, 2022, FinCEN issued a final rule (the “Final Rule”) implementing the CTA’s

beneficial ownership reporting requirements to take effect on January 1, 2024 for

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newly-formed entities and January 1, 2025 for existing entities. Consequently,

immediate action by this Court to enjoin the Act and to declare it unconstitutional is

necessary.

                          JURISDICTION AND VENUE
      9.       This Court has subject-matter jurisdiction under 28 U.S.C. § 1331

because this action arises under the Constitution and laws of the United States and

has jurisdiction to render declaratory relief because an “actual controversy” exists

between the parties within the meaning of 28 U.S.C. § 2201(a).

      10.      Venue is proper in this Court under 28 U.S.C. § 1391(e)(3) because no

real property is involved, Plaintiff Winkles resides in this District as do other officers

and major shareholders of companies that are members of Plaintiff NSBA, and

Defendants are agencies or officers of the United States sued in their official

capacities.

                                       PARTIES
      11.      The National Small Business Association, an Ohio nonprofit mutual

benefit corporation, is one of the leading and oldest associations of small businesses

in the United States, with members in all fifty States and the District of Columbia.

The predecessor entity of the NSBA was formed in the 1930s to represent the

interests of small-business operators struggling to survive in the face of increased

federal and state government taxes and regulations triggered by the Great



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Depression. Today, NSBA’s mission is to represent and protect the rights of its

members who operate their small businesses in compliance with lawfully enacted

government regulation.

      12.    NSBA’s members include numerous reporting companies owned or

operated by U.S. persons who object to forced compliance with the CTA’s

unconstitutional command that they turn over “sensitive” personal information to

the federal government to form or continue to operate entities formed under State

law, requiring a diversion of resources from their businesses. NSBA joins in those

objections on behalf of its members across the nation, including:

            (i)     A small software company that has developed a mobile-phone
                    application, with no employees and less than $5,000,000 in gross
                    receipts or sales in 2021;

            (ii)    A company formed to operate a retail food franchise with less
                    than twenty full-time employees and less than $5,000,000 in
                    gross receipts or sales in 2021;

            (iii)   A single-owner business consulting company with no employees
                    and less than $5,000,000 in gross receipts or sales in 2021;

            (iv)    A private, family-owned real estate development company, some
                    of whose owners hold their private residences inside a limited
                    liability company formed under State law in the State where the
                    residences are located; and

            (v)     A construction, electrical, and plumbing services company with
                    less than twenty full-time employees and less than $5,000,000 in
                    gross receipts or sales in 2021.

      13.    Moreover, because a primary mission of NSBA is to provide its

members with information and advice regarding legal and regulatory issues faced by

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small businesses, NSBA has already incurred and will continue to incur substantial

costs in assisting its members in understanding how the Act applies to them and

affects their businesses. These costs and efforts will only increase now that the Final

Rule has been issued.

      14.       Plaintiff Isaac Winkles is a citizen of the State of Alabama and of the

United States and a resident of Huntsville, Alabama. Winkles and his wife are the

sole shareholders of Alabama Property Management, Inc., an Alabama domestic

corporation that owns and operates a business managing real estate properties in

northern Alabama. Alabama Property Management, Inc., is a member of NSBA,

and Winkles will be subject to the Act’s reporting requirements to give his sensitive

personal information to FinCEN. He objects to being forced to comply with the Act

as a violation of his constitutional rights and an encroachment on the sovereignty of

the State of Alabama to regulate entity formation. The Supreme Court has held that

individual citizens of a State have standing to raise claims that the federal

government has infringed on a State’s sovereignty. See Bond v. United States, 564

U.S. 211, 222 (2011) (“An individual has a direct interest in objecting to laws that

upset the constitutional balance between the National Government and the States

when the enforcement of those laws causes injury that is concrete, particular, and

redressable. Fidelity to principles of federalism is not for the States alone to

vindicate.”).



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       15.      Defendant United States Department of the Treasury is an executive-

branch department of the federal government headquartered in Washington, D.C.

responsible for the administration and enforcement of the CTA, through FinCEN.

       16.      Defendant Yellen is the Secretary of the United States Treasury and is

named as a party in her official capacity.

       17.      Defendant Das is Acting Director of FinCEN and is named as a party

in his official capacity.

                                FACTUAL ALLEGATIONS

                               The Requirements of the CTA

       18.      The CTA was enacted on January 1, 2021, as part of the omnibus

National Defense Authorization Act for Fiscal Year 2021.3 The stated purpose of

the CTA is to combat money laundering, the financing of terrorism, and other illicit

activity by cracking down on the use of anonymous “shell companies.” To that end,

the CTA requires most U.S. corporate entities to provide extensive personal

ownership information to FinCEN.

       19.      Reporting Obligations. Specifically, the Act requires “reporting

companies” to provide to FinCEN data regarding each “beneficial owner” and

“applicant.” Each of those terms is broadly and ambiguously defined:

                      A “reporting company” is defined as a “corporation, limited

3
 William M. (Mac) Thornberry National Defense Authorization Act for Fiscal Year 2021, Pub. L. No. 116-
283, 134 Stat. 3388.


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                    liability company, or similar entity that is (i) created by the filing
                    of a document with a secretary of state or a similar office under
                    the law of a State or Indian Tribe; or (ii) formed under the law of
                    a foreign country and registered to do business in the United
                    States by the filing of a document with a secretary of state or a
                    similar office under the laws of a State or Indian Tribe.” 31
                    U.S.C. § 5336(a)(11)(A).

                   A “beneficial owner” is defined as “an individual who, directly
                    or indirectly, through any contract, arrangement, understanding,
                    relationship, or otherwise” (i) “exercises substantial control over
                    the entity;” or (ii) “owns or controls not less than 25 percent of
                    the ownership interests of the entity.” Id. § 5336(a)(3)(A).

                   An “applicant” is defined as any individual who files an
                    application to form a reporting company or “registers or files an
                    application to register” a non-U.S. company to do business in the
                    United States. Id. § 5336(a)(2).

      20.     For each of the covered individuals, the reporting company must

provide to FinCEN their full legal name, date of birth, current residential or business

street address, and “unique identifying number from an acceptable identification

document,” such as an unexpired passport or State-issued identification card or

driver’s license, or FinCEN-issued identifier number. 31 U.S.C. § 5336(b)(2)(A).

This personal information must be reported upon formation or registration of the

reporting company, or, in the case of existing reporting companies, in a “timely

manner,” and not later than two years after the effective date of the regulations that

FinCEN is directed to promulgate. Id. § 5336(b)(1)(B), (C). If there are any changes

to the reported data—such as if a “beneficial owner” or “applicant” moves their

personal residence or gets a new driver’s license—the entity must provide updated


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information to FinCEN no more than one year after the change. Id. § 5336(b)(1)(D).

       21.   Reporting companies that “willfully” fail to comply with the CTA’s

reporting requirements are subject to a civil penalty of up to $500 per day up to

$10,000, two years’ imprisonment, or both a fine and confinement. Id. § 5336(h)(1),

(3).

       22.   Database of Personal Information. The disclosures required by the

CTA will be used to create a vast database of personal information regarding

“beneficial owners” and “applicants.”

       23.   The CTA requires FinCEN to keep the personal data of a reporting

company’s beneficial owners and applicants for at least five years after the date on

which the reporting company is wound down. 31 U.S.C. § 5336(c)(1). For the

duration of FinCEN’s possession of the required personal information—which,

given the lifespan of many companies, is likely to far exceed five years—FinCEN

may share the reported personal data of reporting companies with federal, State,

local, and tribal law enforcement agencies; with financial institutions for customer

due diligence (with the reporting company’s consent); and with “a Federal functional

regulator or other appropriate regulatory agency,” including foreign governmental

agencies. Id. § 5336(c)(2)(B).

       24.   If the request for personal data comes from a State, local, or tribal law

enforcement agency, the statute requires that it come through “appropriate



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protocols,” and that “a court of competent jurisdiction . . . has authorized the law

enforcement agency to seek the information in a criminal or civil investigation.” Id.

§ 5336(c)(2)(B)(i)(II). However, no court authorization is required if the request

comes from a “Federal agency engaged in national security, intelligence, or law

enforcement activity, for use in furtherance of such activity.”                                      Id.

§ 5336(c)(2)(B)(i)(I). Likewise, if a federal agency makes a request for a beneficial

owner or an applicant’s personal data on behalf of a non-U.S. law enforcement

agency, prosecutor, or judge, for instance, pursuant to an international treaty, then

FinCEN appears to have no explicit authority to deny the request so long as the

requested data is limited to the “investigation or national security or intelligence

activity” that the foreign or international entity has in mind.4 Id. § 5336(c)(2)(B)(ii).

        25.      Thus, for example, if a foreign government, acting pursuant to a U.S.-

ratified treaty like the United Nations Convention Against Corruption, requested

certain beneficial owners’ or applicants’ personal data related to LLC-owned real

property located in the United States, FinCEN is authorized to provide such data

without any independent examination of the foreign country’s need for the

information.



4
 According to Defendant Das, FinCEN is “currently developing a second” Notice of Proposed Rulemaking
regarding regulations to govern access by federal, State, tribal, and foreign agencies to the “beneficial
ownership information,” and intends to “publish this proposed rule this year.” Statement by Himamauli
Das, Acting Director, Financial Crimes Enforcement Network, United States Department of the Treasury
before the Committee on Financial Services, U.S. House of Representatives (April 28, 2022), at 5.


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      26.       Burdens Imposed on States. The CTA requires that relevant federal,

State, and tribal agencies, as determined by the Secretary of the Treasury, must

“cooperate with and provide information requested by FinCEN” to create and

maintain the intended database of “sensitive” personal information.                Id.

§ 5336(d)(2).

      27.       While the Act contemplates that funds will be made available to States

to alleviate the financial and other burdens imposed upon them by the CTA, upon

information and belief, no such funds have yet been made available. According to

the CTA, as a condition of the supposed funds, “each State and Indian Tribe shall,

not later than 2 years after the effective date of [FinCEN’s reporting regulations],”

notify reporting company filers of the personal-data reporting requirements and

update relevant websites, instructions, and forms.         See id. § 5336(e)(2)(A).

However, because the penalties for individual non-compliance with the CTA,

including upon State citizens and permanent residents, are so severe and because the

federal government itself has no ability to notify actual State-level filers of the

CTA’s requirements at the time of formation, the States will be compelled to notify

their citizens and permanent residents of the CTA’s requirements to save them from

fines and imprisonment, whether or not federal funds are actually made available.

                     The CTA’s Injurious Impact on Plaintiffs

      28.       According to FinCEN, the “reporting companies” subject to the CTA



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will include approximately 32.6 million existing entities in 2024, plus roughly five

million additional corporate entities created or registered under State law every year

from 2025 to 2035, as well as foreign companies registered to do business in the

United States. Beneficial Ownership Information Reporting Requirements for

Financial Crimes Enforcement Network (FinCEN), 87 Fed. Reg. at 59549 (2022).

However, the CTA excludes two dozen categories of large business entities and

companies, the broadest exclusion being for companies with (a) more than 20 full-

time employees in the United States, (b) more than $5 million in gross receipts or

sales, and (c) an operating presence at a physical office in the United States. 31

U.S.C. § 5336(a)(11)(B). Banks, insurance companies, investment funds, public

companies, broker dealers, public accounting firms, money-transmitting businesses

and existing shell companies with no foreign owners, assets, or active business, are

also excluded. Id.

      29.     Despite these broad carve-outs, the CTA does not exempt reporting

companies formed solely by U.S. citizens or permanent residents, including small

businesses with 20 or fewer full-time employees and less than $5 million in gross

receipts or sales, as well as entities formed for strictly intrastate commerce or non-

business purposes such as entities formed to hold a family residence (e.g., a high-

profile individual wanting privacy for personal security reasons), entities that are

formed with the intent to seek 501(c) federal tax-exempt status but have not yet so



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(e.g., a small artists’ collective), or non-profit entities such as local private social

clubs that do not intend to seek 501(c) federal tax-exempt status.

      30.     Nor does the Act contain any limitations that would restrict reporting

obligations to individuals or entities that are suspected of a crime or wrongdoing.

      31.     Therefore,    the   Act’s    burden     will   fall   substantially   and

disproportionately on privately-owned small businesses and non-commercial

organizations, regardless of whether there is any reason to believe that these small

businesses and organizations have engaged in any misconduct whatsoever.

      32.     The CTA will have a profound and injurious impact on NSBA’s

members and small business owners, including Plaintiff Winkles. Among other

burdens imposed by the CTA, business owners may have to consult lawyers to parse

through nearly 100 pages of the Final Rule to determine whether the vague and

confusing reporting requirements of the CTA apply or, alternatively, risk

interpreting such terms on their own. For example, the Act provides that an

individual who “indirectly” by any “understanding” “exercises substantial control”

over an entity must be reported as a “beneficial owner.” 31 U.S.C. § 5336(a)(3)(A).

Businesses cannot know the actual meaning of “beneficial ownership” when the

Final Rule defines it using vague terms such as “understanding,” “arrangement,”




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“relationship,” or “otherwise.”5 Rather than sharpen or narrow the definitions of

these protean terms that do not appear in State entity formation laws, the Final Rule

only compounds the confusion.

        33.      The reporting obligations of the CTA have no obvious analogues in

the existing laws of all fifty States, none of which appear to require the disclosure of

personal information regarding “applicants” and “beneficial owners.” For example,

Alabama law requires only “the name and address of each organizer of the filing

entity,” Ala. Code § 10-A-1-3.05, not their birth dates or active personal-

identification numbers as the CTA requires, and makes no reference to “beneficial

owners” or “applicants.” And if the entity to be formed is a limited liability

company, the name and address of organizers is not required at all. Ala. Code §

10A-4A-2.01(a). In fact, based on Plaintiffs’ review of all fifty States’ incorporation

laws, no State appears to require birth dates or active passports, driver’s licenses, or

other such personal identification information for individuals who form an entity.

The Act thus requires reporting of data to the federal government above and beyond

what Alabama and most States currently require for entity formations in their

respective jurisdictions, and without regard to whether the entity is engaging in




5
  In another instance, the Final Rule defines “substantial control” as including a circumstance where an
individual, “[h]as any other form of substantial control over such reporting company.” 87 Fed. Reg. at
59595 (emphasis added). This definition is not only vague (“any other form”), it is also self-referential and
thus virtually meaningless.


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commercial activity or generating income such as the Internal Revenue Service

requires for the reporting of such personal information for tax purposes.

      34.       Many small businesses, including members of the NSBA, have tight

profit margins, and the costs of compliance with the CTA’s requirements will be

considerable.     A small business owner or applicant, say a small retail-food

franchisee, would first have to consult an attorney to see if he, she, or they qualify

for a CTA exemption (e.g., by having the qualifying number of full-time employees

and amount of gross receipts or sales). If the answer is no, the relevant person or

persons in charge of the “reporting company” would have to determine who its

“beneficial owners” are. Determining beneficial owners would be no easy feat with

respect to many reporting companies, such as those formed to hold real estate (e.g.,

a family vacation home held by a limited liability company), shares in the title to

which may be dispersed among family members of multiple generations.

Furthermore, because the necessary “sensitive” personal data regarding beneficial

owners would have to be updated, affected small businesses, property-holders, and

other persons may have to consult attorneys again when their circumstances change.

In addition to the countless hours that millions of Americans operating small

businesses or affiliated with non-commercial entities will have to expend to read

and understand the CTA and its regulations, these Americans will likely have to pay

hundreds or even thousands of dollars to attorneys to navigate the statute’s



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labyrinthine reporting requirements. The threat of such crippling federal regulatory

overhang on small businesses was the precise reason why NSBA was formed in the

first place.

       35.     The CTA contains no provisions to protect individuals who have

formed or would form entities for associational or similar reasons, without seeking

or having yet applied for 501(c) federal tax-exempt status, such as a local all-

women’s social club formed to discuss current health, reproduction rights, and

sexual orientation issues in a confidential group setting. In so doing, such persons

are exercising their constitutionally protected free speech and association rights. The

prospect of reporting their sensitive personal information to FinCEN may deter or

chill such persons from participating in the management of the entity in a significant

way and thereby risk being classified as a “beneficial owner” or “applicant” because

of fear of exposure of their beliefs or activities. These concerns are substantial given

the fact that the statute encompasses potential access to the personal information

even by foreign governments, such as a Chinese government request for information

about the “beneficial owners” of an entity established under State laws by U.S.

persons to protest Chinese government policies.

       36.     The burdens the CTA imposes upon entity formation in every State

will have a direct, predictable impact on NSBA itself. An important service NSBA

offers to its membership is the provision of information, education, and assistance



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regarding legal and regulatory compliance issues faced by small businesses. To

serve faithfully the needs and interests of its membership, NSBA has already been—

and will continue to be—forced to devote its own scarce resources to assisting

members in understanding how the CTA applies to them, how it will affect their

businesses, and what they must do to comply.

       37.      The benefits of the CTA do not justify the burdens it imposes on small

business owners. To the contrary, the CTA does little to effectively combat financial

crime and is inferior to the existing CDD Rule.

       38.      The CTA was enacted to supplant existing beneficial ownership

reporting requirements under the CDD Rule.6 The existing CDD Rule requires

financial institutions to develop and update a risk profile (specifically for anti-money

laundering and illicit transaction purposes) for every customer and obtain

documentary and verifiable beneficial ownership information, including formation

and governance documents, passports, driver’s licenses, home addresses, trust

agreements, or other information. The information submitted under the CDD Rule

is reviewed, vetted, and verified by compliance staff of covered financial institutions

(e.g., banks, credit unions, brokers, dealers, and registered investment advisors).

Furthermore, these financial institutions have an ongoing obligation to monitor their


6
 See 31 U.S.C § 5318(h) and 31 CFR § 1010.210 for anti-money laundering program requirements, and,
as applied to specific financial institutions, in 31 C.F.R. §§ 1020.210, 1021.210, 1022.210, 1023.210,
1024.210, 1025.210, 1026.210, 1027.210, 1028.210, 1029.210, and 1030.210.


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client relationships and report suspicious activities to FinCEN.

      39.     The CTA, on the other hand, requires no supporting documentation,

no review of the information, and no third-party monitoring or reporting to FinCEN

about suspicious financial activity. Without a disinterested intermediary to make

sure that filers are making full and accurate disclosures, bad actors will manipulate

or avoid disclosure requirements, undermining the purported purpose of the CTA.

The likely result is that the CTA will simply create a database containing personal

information about law-abiding reporting companies and their owners who will

predominantly be U.S. persons, not the foreign individuals and entities engaging in

money laundering and illegal activities that the statute was designed to target.

      40.     The CTA is nothing more than a first salvo in a campaign to transfer

responsibility from the very institutions (i.e., big banks, financial institutions, and

escrow agents, which are exempted from the CTA’s coverage) that process the

targeted illicit transactions to law-abiding, small business owners.         It is the

quintessential example of the government prioritizing Wall Street to the detriment

of Main Street. Plaintiffs fully support Congress’s desire to attack money laundering

and terrorism financing, but passing an unconstitutional statute penalizing hard-

working U.S. small business owners is not the answer.




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                              CAUSES OF ACTION

                                   COUNT ONE

     Unconstitutional Usurpation of the States’ Power to Regulate Entity
         Formations in Excess of Congress’s Constitutional Powers
                     (U.S. Const. Art. I, amends. IX, X)
      41.     Plaintiffs reallege and incorporate by reference each of the

Complaint’s allegations stated in paragraphs 1 through 33 and 36, above.

      42.     For more than two centuries, the States have had independent authority

to charter corporations and otherwise regulate the formation and governance of

corporations they have chartered. This was a sovereign power of the British Crown

that was commonly understood to have devolved to the original thirteen States

through their charters after the adoption of the Declaration of Independence in 1776.

The newly independent States began chartering corporations soon after

independence for the purposes of creating financial and transportation infrastructure,

forming subordinate municipal governments, and for charitable and other public

purposes. See Ronald E. Seavoy, The Public Service Origins of the American

Business Corporation, 52 Bus. History R. 30, 33 (1978).

      43.     The Constitution did not intrude on this power of the States to charter

corporations. At the Constitutional Convention, Virginia delegate James Madison

introduced a proposal to give Congress the authority “to grant charters of

incorporation where the interest of the U.S. might require & the legislative

provisions of individual States may be incompetent.” 2 The Records of the Federal

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Convention of 1787, at 615 (Max Farrand, ed., 1911). Madison’s proposal reflected

the settled understanding that the States possessed—and would continue to retain

under the new Constitution—the primary sovereign powers for chartering corporate

entities. See id. at 616 (containing James Madison’s notes documenting the defeat

of his proposal for an explicit Congressional power of chartering corporations by a

vote of 3 in favor and 8 against).

      44.     As the Supreme Court made clear in 1819, other than ensuring that

State legislatures did not impair vested colonial-era corporate charters, the

Constitution does not vest the federal government—including Congress and the

Treasury Department—with any authority to dictate to the States the terms under

which they charter companies. See Trustees of Dartmouth College v. Woodward, 17

U.S. (4 Wheat.) 518 (1819). This fundamental principle remains true today, as

corporations formed for private business purposes have proliferated and now

outnumber the public-purpose and non-commercial corporations prevalent in the

Founding era. The States remain the primary sovereigns for the creation of corporate

entities and, pursuant to the well-established “internal affairs” doctrine, the internal

functioning of such entities remains a matter of the law of the State of formation. “It

thus is an accepted part of the business landscape in this country for States to create

corporations, to prescribe their powers, and to define the rights that are acquired by

purchasing their shares.” CTS Corp. v. Dynamics Corp. of Am., 481 U.S. 69, 91,



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(1987).7

       45.      Despite this original constitutional meaning, history, and tradition, the

CTA aims to establish “a clear, Federal standard for incorporation practices,” 31

U.S.C. § 5336 note (5)(A), above and beyond what State entity laws require,

imposing a penalty—mandatory disclosure of names, addresses, birth dates, and

identification numbers of all beneficial owners and applicants—on persons who seek

to form entities under State law. As detailed above, failure to make these disclosures

is punishable by fines and imprisonment. In addition, the CTA also interferes with

State authority to determine the permissible structures of corporate ownership by

prohibiting any State from authorizing the issuance of “a certificate in bearer form

evidencing either a whole or fractional interest” in an entity created and organized

under that State’s laws. 31 U.S.C. § 5336(f). Upon information and belief, although

many States authorized such bearer certificates through the early twenty-first

century, no State currently does so. Nevertheless, the Act’s categorical prohibition

is an unprecedented intrusion on the States’ sole authority to regulate the formation

and governance of State-entities’ internal affairs.

       46.      One of the enumerated powers of Congress—and perhaps the most

heavily used of those powers in recent decades—is the power to regulate foreign,



7
  Although Congress has the ability to create federally chartered corporations, it has no authority to
intervene in the internal affairs of entities organized under State law, except as noted above.


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interstate, or Indian commerce. Congress also can wield its taxing power to tax

income earned by individuals through corporate entities as it currently does through

federal income taxes on corporations. However, Congress has no regulatory interest

or constitutional authority over corporate formation because a reporting company

has not yet engaged in any foreign, interstate, or Indian commerce at the moment of

its inception. The formation of an entity under State law is an entirely ministerial

act and many entities will engage in no activity until some indeterminate time after

they have been formed.

      47.    Indeed, many of the “reporting companies” subject to the Act may

never engage in any such foreign, interstate, or Indian commerce. State law permits

the formation of a corporate entity for numerous purposes unrelated to commerce,

such as local property holding or associational entities like neighborhood

organizations and residential housing associations. For example, Section 10A-1-

2.01 of the Alabama Business and Nonprofit Entities Code indicates that a “domestic

entity may have any lawful purpose or purposes, unless otherwise provided by this

title.” Ala. Code § 10A-1-2.01 (2014) (emphasis added). Section 101(b) of the

Delaware General Corporation Law provides that a “corporation may be

incorporated or organized under this chapter to conduct or promote any lawful

business or purposes, except as may otherwise be provided by the Constitution or

other law of this State.” 8 Del. Code § 101(b) (emphasis added). Similarly, Section



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18-106(a) of the Delaware Limited Liability Company Act provides that “[a] limited

liability company may carry on any lawful business, purpose or activity, whether or

not for profit . . . .” 6 Del. Code § 18-1101. A large proportion of the CTA’s

coverage is thus likely to include entities that do not engage in commerce or business

at all, or that engage in strictly intrastate commerce (such as residential real property

holding) outside the reach of federal regulation.

      48.     This fact exposes a fundamental flaw in the CTA’s structure: it does

not regulate any specifically identified commercial activity. “The Constitution

grants Congress the power to ‘regulate Commerce.’             The power to regulate

commerce presupposes the existence of commercial activity to be regulated.” Nat’l

Fed’n of Indep. Bus. v. Sebelius, 567 U.S. 519, 520 (2012) (emphasis in original).

As discussed above, there is no exercise of commerce inherent in the creation of a

state-chartered entity; it is an entirely ministerial act, and many entities so formed

do not engage in any commercial activity. By imposing requirements on the mere

act of entity formation without any inkling as to whether the formed entity will

engage in commercial activity, the CTA clearly exceeds Congress’s power to

regulate interstate, foreign, and Indian commerce.

      49.     The CTA commandeers State agencies by coercing States into giving

notice to State filers of the CTA’s reporting requirements and providing filers with

a copy of the CTA filing form. Because the States are the only agents capable of



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providing notice to entity formation filers at the time of formation, States are likely

to feel compelled to provide the notice and the FinCEN filing form to protect their

citizens from the severe criminal penalties that would result from failure to comply

with the CTA’s filing requirements.

      50.     Through these requirements, the CTA violates Plaintiffs’ rights and

the rights of all NSBA members by exceeding the enumerated powers of the federal

government set forth in Article I, Section 8 of the Constitution of the United States,

violating the Ninth and Tenth Amendments, and violating the constitutional

principles of federalism and retained State sovereignty upon which this Nation was

founded.

WHEREFORE, Plaintiffs respectfully request that this Court:

      A.      Declare the CTA to be unconstitutional;

      B.      Declare that the CTA exceeds Congress’s authority under Article I of

the Constitution and encroaches upon the States’ respective sovereignties in

violation of the Ninth and Tenth Amendments and constitutional principles of

federalism and retained State sovereignty;

      C.      Enjoin Defendants and any other agency or employee acting on behalf

of the United States from enforcing the Act against Plaintiffs, and to take such

actions as are necessary and proper to remedy their violations deriving from any

such actual or attempted enforcement; and



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      D.      Award Plaintiffs their costs and grant such other relief as the Court

may deem just and proper.

                                   COUNT TWO

                   Unconstitutional Invasion of Privacy
    Unreasonable Search and Seizure Violation of the Fourth Amendment
      Compelled Self Incrimination Violation of the Fifth Amendment
            Right of Privacy Violation of the Ninth Amendment
                      (U.S. Const. amends. IV, V, IX)
      51.     Plaintiffs reallege and incorporate by reference each of the

Complaint’s allegations stated in paragraphs 1-25, 28-31, 33, and 36-39 above.

      52.     The CTA is a statute providing for criminal punishments enacted for

the purpose of harvesting “sensitive” personal information from individuals to create

a database for law enforcement purposes by FinCEN and other United States and

foreign law-enforcement and intelligence agencies. The stated purpose of the CTA

is to provide the federal government with a supplemental means of enforcing federal

criminal laws. But no matter the degree of invasiveness, suspicionless searches and

compelled disclosures are never allowed if their principal end is crime-solving.

      53.     Privacy is often a key motivation in State entity formation. No State

has chosen to require the extent of disclosure of beneficial ownership and applicant

information upon filing that the CTA mandates. Upon information and belief, no

State, for instance, appears to require birth dates and personal identification numbers

of filers.   The States’ entity-formation laws reflect the States’ judgment that



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individuals need not disclose sensitive information as a condition of forming

corporate entities. Individuals who form an entity under such State laws have a

reasonable expectation of privacy from the intrusion of the federal government as to

that information. The CTA’s requirements violate that expectation of privacy by

compelling the disclosure of that information by individuals protected by the Fourth,

Fifth, and Ninth Amendments.

      54.    The CTA contains no limitations on the provision of the required

personal information to situations where there is an articulable individualized

suspicion of a crime or wrongdoing by such beneficial owners and applicants. The

CTA also authorizes the provision of private, personal information to foreign

governments, federal regulators, and regulatory agencies without any court

authorization or specific requirements regarding those federal and foreign

government agencies’ need for the information.

      55.    By requiring, under threat of criminal penalty, reporting companies to

provide individuals’ “sensitive” personal information for law enforcement purposes

in the absence of specific prior indicia of wrongdoing, the CTA deprives Plaintiffs

and the members of the NSBA of their privacy rights, and violates the Fourth

Amendment, Fifth Amendment, and Ninth Amendment of the Constitution of the

United States.

      56.    By compelling disclosures and permitting the release of sensitive



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personal data to federal and foreign government agencies without the reporting

company’s consent or authorization from a court of competent jurisdiction, see 31

U.S.C. § 5336(c)(2)(B) (requiring court authorization for requests from state, local,

or tribal law enforcement agencies and consent from a financial institution, without

imposing a similar requirement of court authorization for requests from federal or

non-U.S. law enforcement agencies), the CTA violates the Fourth, Fifth, and Ninth

Amendment rights of Plaintiffs and the members of the NSBA.

WHEREFORE, Plaintiffs respectfully request that this Court:

      A.      Declare the CTA to be unconstitutional;

      B.      Declare that the CTA violates (i) the Fourth Amendment’s reasonable

expectation of privacy from unreasonable searches and seizures without probable

cause or articulable suspicion; (ii) the Fifth Amendment’s privilege against self-

incrimination; and (iii) the Ninth Amendment’s retention of unenumerated rights to

the People;

      C.      Enjoin Defendants and any other agency or employee acting on behalf

of the United States from enforcing the Act against the Plaintiffs and to take such

actions as are necessary and proper to remedy their violations deriving from any

such actual or attempted enforcement; and

      D.      Award Plaintiffs their costs and grant such other relief as the Court

may deem just and proper.



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                                 COUNT THREE

      Compelled Speech and Unreasonable Burdens on the Freedoms of
                         Speech and Association
                         (U.S. Const. amend. I)
      57.     Plaintiffs reallege and incorporate by reference each of the

Complaint’s allegations stated in paragraphs 1-25, 28-30, and 35-40 above.

      58.     Under the CTA, the obligation to report personal information to the

federal government arises at the time of formation of an entity under State law. The

CTA forces filers to disclose more personal information to the federal government

than what is required to be disclosed under State entity-formation statutes; in most

States, disclosure of “beneficial ownership” as expansively set forth in the CTA and

“applicant” personal information is not required at all. State laws providing for

entity formation, however, reflect the States’ respective judgments that the provision

of such information is not a necessary or appropriate prerequisite of entity formation.

      59.     Some U.S. persons form or seek to form entities under State law,

without seeking 501(c) federal tax-exempt status, for social or other non-commercial

reasons, such as to organize a private social club or to hold a family vacation

property. Many of these entities and the U.S. persons who would have to be

registered under the CTA have a heightened reason to desire privacy. The CTA

compels such entities and individuals to publicly reveal their associations to the

federal government, which may in turn transmit that information upon request to:



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(i) federal and State law enforcement agencies, courts, and prosecutors; (ii) foreign

governments and law enforcement authorities; (iii) financial institutions; and (iv)

various federal regulators and regulatory agencies. This forced disclosure will also

deter such persons from exercising their rights of free speech and association and

dissuade others from joining or assuming leadership positions in the entities (and

thus arguably becoming “beneficial owners”).

      60.    The United States does not have a compelling, overriding interest in

obtaining the information required by the CTA because less onerous alternatives are

available to accomplish the stated goals of the CTA and the methods employed by

the Act are not narrowly tailored for their stated purpose. To wit, the most obvious

and direct way to stem money laundering and international terrorism funding is to

ramp up regulation and scrutiny of large cross-border money transfers, for instance,

by banks, financial agents, and escrow agents. Vacuuming up personal information

about every American who sets up or has a significant stake in a corporate entity is

overkill given the CTA’s stated aims. The requirements of the CTA are neither

justified by nor necessary to promote the stated goals of the CTA.

      61.    By requiring, under threat of criminal sanction, Plaintiffs and all

members of NSBA to disclose information in the manner mandated by the CTA

despite the availability of less onerous alternative methods to achieve the statute’s

stated goals, the CTA’s disclosure requirements constitute compelled speech in



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violation of the First Amendment to the Constitution of the United States.

      62.    By requiring U.S. persons who have formed or wish to form a legal

entity to engage in protected speech despite the availability of less onerous

alternative methods to achieve the stated goals of the CTA, the CTA violates the

First Amendment by burdening the right to speech and private association. As the

Supreme Court recently affirmed, “a substantial relation to an important interest is

not enough to save a disclosure regime that is insufficiently tailored.        This

requirement makes sense. Narrow tailoring is crucial where First Amendment

activity is chilled—even if indirectly—‘[b]ecause First Amendment freedoms need

breathing space to survive.’” Americans for Prosperity Found. v. Bonta, 141 S. Ct.

2373, 2384 (2021) (quoting NAACP v. Button, 371 U.S. 415, 433 (1963)).

WHEREFORE, Plaintiffs respectfully request that this Court:

      A.     Declare the CTA to be unconstitutional;

      B.     Declare that the CTA violates the First Amendment’s right to speech

and private association and prohibition on compelled speech;

      C.     Enjoin Defendants and any other agency or employee acting on behalf

of the United States from enforcing the Act against Plaintiffs, and to take such

actions as are necessary and proper to remedy their violations deriving from any

such actual or attempted enforcement; and

      D.     Award Plaintiffs their costs and grant such other relief as the Court



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may deem just and proper.

                                  COUNT FOUR

                    Unconstitutional Violation of Due Process
                             (U.S. Const. amend. V)
      63.     Plaintiffs reallege and incorporate by reference each of the

Complaint’s allegations stated in paragraphs 1-25, 32-34, and 36 above.

      64.     Both the CTA and the FinCEN rules relating to the CTA fail to provide

definitions specific enough for Plaintiffs, members of the NSBA, or other ordinary

small businesses or non-business entities to understand what conduct is required to

avoid criminal sanctions including, but not limited to, failing to sufficiently define

“beneficial owner,” “understanding,” “relationship,” “substantial control,” and

“applicant.” All these terms, most significantly “beneficial owner” and “applicant,”

have no obvious analogue in State entity formation laws, which typically address

“organizers” and “incorporators.” In addition, the CTA’s overall framework for

mandatory reporting, updating, access, and record-keeping is so vague and complex

that Plaintiffs, members of the NSBA, or other ordinary small businesses or non-

business entities cannot reasonably comply with these requirements.

      65.     Should Plaintiffs, members of the NSBA, and other ordinary small

businesses or non-business entities be forced to attempt to comply with the vague

and complex requirements of the CTA to avoid criminal penalties, they will be

forced to incur substantial costs and other burdens. The stated goals of the CTA do


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not justify the enormous burden it places on small businesses and non-business

entities and can be accomplished through less onerous alternative means.

      66.    By subjecting Plaintiffs and all other individuals, including millions of

U.S. persons, covered by the CTA to potential criminal sanctions without adequate

notice of the actions required to avoid the sanctions, and, by the same token,

expanding the federal government’s discretion in enforcing the requirements, the

CTA violates the Due Process Clause of the Fifth Amendment to the Constitution of

the United States.

WHEREFORE, Plaintiffs respectfully request that this Court:

      A.     Declare the CTA to be unconstitutional;

      B.     Declare that the CTA violates the due process requirements of the Fifth

Amendment;

      C.     Enjoin Defendants and any other agency or employee acting on behalf

of the United States from enforcing the Act against the Plaintiffs, and to take such

actions as are necessary and proper to remedy their violations deriving from any

such actual or attempted enforcement; and

      D.     Award Plaintiffs their costs and grant such other relief as the Court

may deem just and proper.




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Dated: November 15, 2022       Respectfully submitted,

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